    Case 2:15-cv-01045-RFB-BNW Document 951-2 Filed 12/22/23 Page 1 of 2




1     WILLIAM A. ISAACSON (pro hac vice)
      wisaacson@paulweiss.com
2     PAUL, WEISS, RIFKIND, WHARTON &
3     GARRISON LLP
      2001 K Street, NW
4     Washington, DC 20006
      Tel: (202) 223-7300
5     Fax: (202) 223-7420
6     DONALD J. CAMPBELL #1216
7     (djc@campbellandwilliams.com)
      J. COLBY WILLIAMS #5549
8     (jcw@campbellandwilliams.com)
      CAMPBELL & WILLIAMS
9     710 South 7th Street, Las Vegas, NV 89101
      Telephone: (702) 382-5222; Fax: (702) 382-0540
10

11    Attorneys for Defendant Zuffa, LLC, d/b/a
      Ultimate Fighting Championship and UFC
12

13
                                UNITED STATES DISTRICT COURT
14
                                     DISTRICT OF NEVADA
15

16
      Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,    Case No.: 2:15-cv-01045-RFB-(BNW)
17    Luis Javier Vazquez, and Kyle Kingsbury on behalf
      of themselves and all others similarly situated,    APPENDIX OF EXHIBITS IN
18                                                        SUPPORT OF DEFENDANT
                              Plaintiffs,                 ZUFFA, LLC’S REPLY IN
19
                                                          SUPPORT OF RENEWED MOTION
20                            v.                          FOR SUMMARY JUDGMENT

21    Zuffa, LLC, d/b/a Ultimate Fighting Championship
      and UFC,
22
                              Defendant.
23

24

25

26
27

28


       APPENDIX OF EXHIBITS TO ZUFFA’S REPLY ISO RENEWED MOTION FOR SUMMARY JUDGMENT
    Case 2:15-cv-01045-RFB-BNW Document 951-2 Filed 12/22/23 Page 2 of 2



                                       APPENDIX OF EXHIBITS
1

2            Pursuant to Local Rule IA 10-3(d), Defendant Zuffa, LLC (“Zuffa”), submits this
3
      Appendix of Exhibits in Support of Defendant Zuffa, LLC’s Zuffa’s Reply in Support of its
4
      Renewed Motion for Summary Judgment (“Reply”). The exhibits noted below are attached
5
      as exhibits to the Declaration of William A. Isaacson in Support of Defendant Zuffa, LLC’s
6

7     Zuffa’s Reply.

8
         Exhibit                                      Description
9
         114.      Chart of Full Text of Plaintiffs’ CSF and Zuffa’s Response
10
         115.      Chart of Undisputed Portions of Zuffa’s SUF
11
         116.      Excerpts of the Deposition of Lorenzo J. Fertitta (“Fertitta Dep.”) (March 23, 2017)
12
                   Letter from the FTC to Zuffa, LLC Closing Investigation into Strikeforce
         117.
13                 Acquisition (January 25, 2012)

14                 Excerpts of the Deposition of Colin Neville (Raine) (“Neville Dep.”) (August 8,
         118.
                   2017)
15
         119.      Deck on Zuffa’s business in Brazil (January 2013), RAINE000019
16                 Excerpts of the Deposition of Prof. Roger D. Blair (“Blair Dep.”) (December 8,
         120.
17                 2017)

18       121.      Excerpts of the Second Deposition of Dr. Hal J. Singer (January 23, 2018)

19
                   Excerpts of Rule 30(b)(6) Deposition of Ike Lawrence Epstein on Acquisitions
         122.
20                 (“Acquisitions Dep.”) (Dec. 2, 2016)

21        123.     Excerpts of the Deposition of Michael Mersch (July 14, 2017)

22
      Dated: December 22, 2023             PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
23

24                                                By: /s/ William A. Isaacson
25                                                    William A. Isaacson

26                                                Attorney for Defendant Zuffa, LLC, d/b/a
                                                  Ultimate Fighting Championship and UFC
27

28


       APPENDIX OF EXHIBITS TO ZUFFA’S REPLY ISO RENEWED MOTION FOR SUMMARY JUDGMENT
